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UNITED STATES DISTRICT CoURT 95 ff ' H. w
WESTERN DISTRICT OF TENNESSEE "~/‘Z ` aim

EASTERN DIVISION

KAREN DARNELL,

 

Plaintiff,
v. Civil No. 04-1 189
COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER ALLOWING ADDITIONAL TTME TO FILE AN ANSWER

 

The defendant‘s motion for additional time to file an answer is granted. The Commissioner
Shall file an answer by Ju]y 12, 2005.

@Q/w/J>‘JFM

Jud§,rUnited States Distn`ct Court

Date: 7 Q¢\»LL! MJ/
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Honorable J ames Todd
US DISTRICT COURT

